          Case 2:23-cv-00024-AM Document 7-1 Filed 07/18/23 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  DEL RIO DIVISION

 STATE OF TEXAS,                                   §
                                                   §
                                                   §
                       Plaintiff,                  §
                v.                                 §
                                                   §      Case No. 2:23-CV-00024-AM
 ALEJANDRO MAYORKAS,                               §
 Secretary of Homeland Security, et al.,           §
                                                   §
                       Defendants.                 §


             [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED
              MOTION TO EXTEND TIME TO RESPOND TO COMPLAINT

       This matter having come before the Court upon Defendants’ Motion to extend time to

respond to the Complaint, and for good cause shown, said motion is hereby GRANTED.

       IT IS HEREBY ORDERED that Defendants’ deadline to answer or otherwise respond to the

Complaint shall be extended to August 24, 2023.

  Dated this ______ day of July, 2023.

                                                  ____________________________________
                                                  HONORABLE ALIA MOSES
                                                  Chief United States District Judge




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